Case 4:20-cv-10091-JLK Document 14 Entered on FLSD Docket 10/16/2020 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                     KEY WEST DIVISION

                                  CASE NO. 4:20-cv-10091-JLK

 DAVID JAMES LOLA,

         Plaintiff,

 v.

 MIAMI HERALD, INC., et al.,

       Defendants.
 ______________________________________/

                            ORDER AFFIRMING MAGISTRATE’S
                          REPORT AND RECOMMENDATION AND
                      DISMISSING PLAINTIFF’S AMENDED COMPLAINT

         THIS CAUSE comes before the Court upon the October 13, 2020 Report and

 Recommendation (“R&R”) of Magistrate Judge Lisette M. Reid (DE 12), recommending that

 Plaintiff’s Complaint (DE 1) be dismissed without prejudice pursuant to Fed. R. Civ. P. 41(b) for

 failure to prosecute and for failure to comply with court orders.

         The record reflects that Plaintiff was afforded multiple opportunities to amend his

 complaint to comply with the local rules. (See DE 3, 5, 9). However, instead of amending his

 complaint as Judge Reid so ordered (see DE 5,9), Plaintiff appealed these orders to the district

 court for review. (See DE 6,11). Plaintiff ultimately filed an Amended Complaint “under protest”

 (Am. Compl. ¶1, DE 13), yet Plaintiff still failed to comply with the local rules and Judge Reid’s

 instructions.

         Accordingly, it is ORDERED, ADJUDGED, and DECREED that:

      1. Magistrate Judge Lisette M. Reid’s October 13, 2020 Report and Recommendation (DE
Case 4:20-cv-10091-JLK Document 14 Entered on FLSD Docket 10/16/2020 Page 2 of 2




        12) be, and the same is, hereby AFFIRMED and ADOPTED as an Order of this Court;

    2. Plaintiff’s Amended Complaint (DE 13) is hereby DISMISSED WITHOUT

        PREJUDICE under Federal Rule of Procedure 41(b) for failure to comply with court

        orders. Plaintiff may file a new case under a new case assignment, if he so desires;

    3. All pending motions are hereby DENIED as moot; and

    4. The Clerk of Court shall CLOSE this case.

 DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 16th day of October, 2020.

                                       ______________________________________
                                            JAMES LAWRENCE KING
                                            UNITED STATES DISTRICT JUDGE


 cc: All Counsel of Record
